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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

HANNAH SABATA, et al.,

                     Plaintiffs,                               4:17CV3107

       v.
                                                            MEMORANDUM
NEBRASKA DEPARTMENT OF                                       AND ORDER
CORRECTIONAL SERVICES, et al.,

                     Defendants.

      This matter is before the Court on defendants Nebraska Department of Correctional
Services (“NDCS”), Scott R. Frakes, Harbans Deol, the Nebraska Board of Parole, and
Julie Micek’s (collectively, “defendants”) unopposed Suggestion of Mootness and Motion
to Dismiss Claims of Named Plaintiff R.P. (“R.P.”) (Filing No. 204).

      R.P. was previously incarcerated in a NDCS facility. R.P. claims, inter alia, the
defendants subjected him to poor conditions and processes while he was incarcerated. R.P.
seeks declaratory and injunctive relief to remedy those deficiencies. According to the
parties, R.P. has now been released from incarceration.

      An inmate’s claim for declaratory and injunctive relief to address deficiencies in
prison conditions is rendered moot when that inmate is no longer subject to those
conditions. See Watts v. Brewer, 588 F.3d 646, 648 (8th Cir. 1978). Because R.P. is no
longer incarcerated, the Court finds R.P.’s claims should be dismissed without prejudice.
See Malkowski v. Gonzalez, No. 4:09CV490 CDP, 2009 WL 1578816, *1 (E.D. Mo.
June 3, 2009) (finding dismissal should be without prejudice where based on mootness).

      IT IS ORDERED:

      1.     Defendants’ Suggestion of Mootness and Motion to Dismiss Claims of
             Named Plaintiff R.P. (Filing No. 204) is granted.
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     2.    Named plaintiff R.P.’s claims are dismissed without prejudice.

     Dated this 27th day of February 2019.


                                             BY THE COURT:



                                             Robert F. Rossiter, Jr.
                                             United States District Judge




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